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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
                                      No. 14-525V
                               Filed: February 27, 2015
                                 (Not to be published)

****************************
LOUIS A. CAPUTO,                        *
                                        *
                   Petitioner,          *       Stipulation; Attorneys’ Fees & Costs
v.                                      *
                                        *
SECRETARY OF HEALTH                     *
AND HUMAN SERVICES,                     *
                                        *
                   Respondent.          *
                                        *
****************************
Lawrence Michel, Esq, Kennedy, Berkley, et al., Salina, KS for petitioner.
Heather Pearlman, Esq., U.S. Dep’t. of Justice, Washington, DC, for respondent.

                        DECISION ON ATTORNEY FEES AND COSTS 1

Gowen, Special Master:

       In this case under the National Vaccine Injury Compensation Program, 2 I issued
a decision adopting the parties’ stipulation on February 26, 2015. On February 27,
2015, the parties filed a Stipulation of Fact concerning attorneys’ fees and costs.
Additionally, pursuant to General Order #9, petitioner’s counsel asserted that petitioner
incurred no personal litigation costs in this matter. Id. at para. 4.

     The parties’ stipulation indicates that respondent does not object to the amended
amount of $19,648.35 in attorneys’ fees and cost that petitioner is requesting.

      I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2 The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2006).
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pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems
reasonable and appropriate. Accordingly, I hereby award:

        •    A lump sum of $19,648.35 in the form of a check payable jointly to
             petitioner and petitioner’s counsel of record, Lawrence Michel, for
             petitioner’s attorney fees and costs.

        The clerk of the court shall enter judgment in accordance herewith. 3


IT IS SO ORDERED.


                                                 s/ Thomas L. Gowen
                                                 Thomas L. Gowen
                                                 Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).
